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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:03-cr-00041-MP-AK

QUINTON MCCLENDON,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on defendant's Motion for Specific Performance, Doc.

550. In order to rule on this issue, the Government is instructed to file a responsive pleading on

this matter by Monday, May 15, 2006.

       DONE AND ORDERED this             13th day of April, 2006


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
